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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
SPN                                               271 Cadman Plaza East
                                                  Brooklyn, New York 11201



                                                  June 6, 2019

By ECF

The Honorable Pamela K. Chen
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Jorge Arzuaga
                     Criminal Docket No. 17-313 (PKC)

Dear Judge Chen:

              The government respectfully requests that the sentencing control date for
defendant Jorge Arzuaga, currently set for June 11, 2019, be adjourned for six months.
Defense counsel have been consulted and join in this request.


                                                  Respectfully submitted,

                                                  RICHARD P. DONOGHUE
                                                  United States Attorney
                                                  Eastern District of New York


                                          By:       /s/
                                                  Samuel P. Nitze
                                                  Lauren H. Elbert
                                                  M. Kristin Mace
                                                  Keith D. Edelman
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                                                  718-254-7000

cc:    Steven Cottreau, Esq. and Alexander Feldman, Esq. (by ECF)
       Clerk of Court (PKC) (by ECF)
